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© IN THE UNITED sTATES DISTRICT CC URT, §§p ; 3 2907
FOR THE NORTHERN DISTRICT OF T EXAS
DALLAS DleSION cLERK, U. mcf COURT
By
Deputy
LORI MARTIN, §
§
Plailltiff, § 3*070¥1663"-R
§
V. § CIVIL ACTION NO.
§
UT SOUTHWESTERN MEDICAL §
CENTER §
§
Defendallt. § JURY TRIAL DEMANDED

PLAINTIFF LORI MARTIN'S ORIGINAL COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW, PlaintiffLori Martin, and files this, her Original Complaint, against Defendant UT
Southwestern Medical Center ("Defendant") and would respectfully show the Court as follows:
I.
PARTIES

l . Lori Martin ("Martin" or "Plaintiff“) is an individual and resident of Collin County, TeXas.

2. Defendant UT Southwestern Medical Center ("UTSW") is a State agency of the State of
TeXas and may be served With process by serving its President, Kern Wildenthal, M.D., Ph.D., UT

Southwestern Medical Center, 5323 Harry Hines Boulevard, Dallas, TeXas 75390-9002.

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II.
JURISDICTION
3. This is an action arising out of Title VII of the Civil Rights Act of 1964, as amended,
42 U.S.C. § 2000(e), et seq., and 42 U.S.C. §§ 1981 and 1983. As such, this Court has original
jurisdiction pursuant to 28 U.S.C. §§ 133 l and 1343(3) and (4). The Court has pendent jurisdiction over
the State law claims pursuant to 28 U.S.C. § l367(a).
III.
VENUE
4. Venue is proper in this Court under 42 U.S.C. § 139 l (b) as a substantial part of the events
or omissions giving rise to the claim occurred in this District.
IV.
INTRODUCTION
5. This is a civil action seeking money damages, declaratory and other legal and equitable
relief to redress violations of Plaintiffs lights under the laws of the United States. Plaintiff has suffered
discrimination on the basis of sex. As a female temporary employee of UTSW she was subjected to sexual
harassment by Thomas Dillon, an employee of UTSW that Plaintiff believed to be in a managerial position.
Such actions are a violation of 42 U.S.C. § 2000(e) et. seq. Title VII of the Civil Rights Act of 1964; 42
U.S.C. § 1981 and 1983 and the TeXas Labor Code § 21.051. In addition, when Plaintiff sought to

exercise her lawful rights in making a complaint to her supervisor and UTSW officials, she Was

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subsequently discharged of her assignment Such conduct is a further violation of Plaintiff‘ s rights under
Title VII.
6. Because of the acts and omissions of the Defendant and/or its failure to comply with

statutory and/ or constitutional duties and violations of the rights of Plaintiff, the Plaintiff has sustained

damages.
V.
STATEMENT OF FACTS
7. PlaintiffLori Martin was a nurse working a contract temporary assignment With UT

Southwestem Medical Center ("UTSW") through The Quest Group. Martin started her assignment with
UTSW on or around May 5 , 2006 and worked until her discharge on July 19, 2006.

8. On July 14, 2006, Martin arrived at UTSW Clinical Building #2 for computer training on
the new system. Martin received one on one training With UTSW employee Thomas Di]lon. Within several
minutes of starting the training, Dillon began to ask Martin questions regarding her personal life. At one
point during the training session, Dillon placed his hand on top of Martin's hand while she maneuvered the
computer mouse. Dillon made the comment, "I just wanted to touch/hold your hand."

9. When the computer training session was concluded with Dillon, Martin immediately
returned to her assigned location at the UTSW Simmons Cancer Center and reported the incident to her
direct supervisor, Rita Powell. Martin was informed of UTSW's procedures for reporting claims of sexual
harassment, provided with a copy of UTS W's anti-harassment policy, and was directed to contact UTSW

Assistant Vice President Vemon Mullen in the Office of Equal Opportunity and Minority Affairs. Martin

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contacted Mullen on July 17 , 2006 and spoke with Mullen and another female representative in Mullen's
office. Mullen advised Martin that he was aware of the July 14 incident with Dillon because other
management officials had advised him. Martin scheduled an appointment to meet with Mullen on July 1 8,
2006 at 1 1 :00 a.m.. After consulting with her own counsel, Martin called Mullen on July 18, 2006 to
reschedule the meeting, but Mullen never returned Martin's call. Martin subsequently was discharged on
July 19, 2006.

l 0. Although UTSW contends that Martin had been scheduled to end her assignment because
her services were no longer needed, Martin states UTSW had been considering her for permanent
employment and had recommended her for employer-sponsored training.

1 1 . Martin, then exercised her lawful rights under state and federal legislation and on October
4, 2006, Plaintiffflled a charge of discrimination ("EEOC Charge") alleging the retaliation against her
complaint about the sexual harassment she experienced by Dillon.

12. As a result of the Defendant's actions, Plaintiff has suffered the loss of income, benefits, and
retirement and future employment in the grong UTSW medical conglomerate as a result of Defendant's
unlawful conduct and has suffered significant emotional distress and stress from the conduct

VI.
EXHAUSTION OF ADMINISTRATIVE REMEDIES

1 3 . Martin timely filed complaints with the Equal Employment Opportunity Commission
("EEOC") against Defendant within 300 days of Defendant's adverse employment decision complaining

of racial, sex/ gender and age discrimination

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VII.
FIRST CAUSE OF ACTION
Federal Claim _ Sexual Discrimination Under Title VII - Against UTSW
14. Martin incorporates Paragraphs 1 through 26 by reference as if fully set forth herein
verbatim.
15. Under Title VII, an employer commits an unlawful act if the employer:

(l) fails or refuses to hire or to discharge any individual, or otherwise to discriminate
against any individual with respect to his compensation, terms, conditions, or
privileges of employment, because of such individual's race, color, religion, sex, or
national origin; or

(2) limits, segregates, or classifies its employees or applicants for employment in any
Way that would deprive or tend to deprive any individual of employment

opportunities, or otherwise adversely affect his status as an employee, because of
such individual's race, color, religion, sex, or national origin.

42 U.S.C. § 2000e-2(a).

1 6. UTSW's actions constitute unlawful employment practices under Title VlI. As a direct and
proximate result of UTSW's actions, Martin suffered and continues to suffer personal embarrassment7 injury
to reputation, mental anguish and loss of income, in the past and present, that are in excess of the
jurisdictional limits of this Court, and additional pecuniary injury in the loss of retirement, pension and

disability.

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VIII.

SECOND CAUSE OF ACTION
RETALIATION

17. Martin incorporates by Paragraphs l through 16 by reference as if set forth herein
verbatim.

1 8. Subsequent to the making of her initial complaint of discrimination on July l4,2005, the
Defendant, has retaliated against her because she sought employment related discriminatory relief as
provided for by law and made a report of sexual harassment

IX.
THIRD CAUSE OF ACTION
State Claim _ Employment Discrimination

19. Martin incorporates Paragraphs l through 18 by reference as if fully set forth herein
verbatim.

20. Under Texas Labor Code § 21 .051, an employer commits an unlawful employment
practice if because of race, color, disability, religion, sex, national origin, or age the employer:

(l) fails or refused to hire an individual, discharges an individual, or discriminates in
any other manner against an individual in connection with compensation on the
terms, conditions, or privileges of employment; or

(2) limits, segregates, or classifies an employee or applicant for employment in a
manner that would deprive or tend to deprive an individual of any employment

opportunity or adversely affect in any other manner the status of an employee.

21. UTSW's actions constitute unlawful employment practice under the Texas Labor Code.

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22. As a direct and proximate result of UTSW's action, Martin suffered and continues to suffer
personal embarrassment, injury to her reputation, mental anguish and loss of income, in the past and idture,
that are in excess of the minimal jurisdictional limits of this Court, and additional pecuniary injury in the loss
of retirement, pension and disability benefits.

X.
ATTORNEYS' FEES

23. As a consequence of the above-described facts, and in furtherance of the enforcement of
Martin's rights, duties and obligations with respect to her employment, it was necessary for Martin to retain
the undersigned attorneys. Martin hereby seeks to recover for all reasonable and necessary attomeys' fees
and costs incurred in enforcing said rights and duties.

24. Pursuant to 42 U.S.C. § 1983 and Title VII of the Civil Rights Act of 1964, as amended,
Martin hereby requests that she be awarded her reasonable attorneys' fees and costs incurred in
prosecuting this action.

XI.
JURY DEMAND
25. Martin hereby demands a trial by jury of all issues contained herein.
XII.
EXEMPLARY AND PUNITIVE DAMAGES
26. Martin request exemplary and punitive damages for Defendant's conduct. She seeks

recovery of these damages in order to penalize Defendant for its willful, outrageous, malicious, and

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otherwise morally culpable conduct and to deter it from such conduct in the future. It did not exercise

reasonable care to either prevent or remedy the discrimination suffered by Plaintiff. UTSW terminated her

employment in retaliation against her complaint of sexual harassment by Dillon. As such, Plaintiff is entitled

to recover exemplary and punitive damages

XV.

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that Defendant

be cited to appear and answer, and that on final trial of this matter, Plaintiff recover the following:

(1 ) Entry of j udgrnent in her favor and against Defendant for all actual damages alleged
herein in an amount to be determined at trial, all attomeys' fees and costs that are
reasonable and necessary, plus all pre- and post-judgment interest as allowed by
law.

(2) All reasonable and necessary attomeys' fees.

(3) All costs of suit.

(4) Exemplary damages

(5) Such other and further relief to which Plaintiff may be justly entitled, both at law
and in equity, whether specific or general.

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Respectfully submitted,

BELLINGER & DeWOLF, L.L.P.

a team aj

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State Bar§ 05671200 \/
Barbara L. Emerson /
State Bar No. 06599400
10,000 N. Central Expressway, Ste. 900
Dallas, Texas 57231

(214) 954-9540

(214) 954-9541 (Facsimile)

ATTORNEYS FOR PLAINTIFF
LORI MARTIN

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PJS““ < IK<%§WW CIVIL COVER SHEET
4 1 0

The JS 4 er sheet and the‘information contained herein neither replace nor su plement the filing and service o_f pleadings or other pa ers as required by law, except as
provided by ocal rules of court Thls form, approved by the Judicial Conference of the nited States in September 1974, ls require for the use 0 the Clerk of Court for the purpose

of initiating the civil docket sheetl (sEE leTRUCTIONs oN THE REVERsE 0F THE FORM.)
DEFENDANTS 3 "U '2 C v I 6 6 3 R

UT SOUTHWESTERN MEDICAL CENTER
a municipality of the State of Texas

 

I' (3) PLAINTIFFS
LORI MARTIN

(b) County of Residence of First Listed Plaintiff`
(EXCEPT IN U.S. PLAINT!FF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)
NO

 

 

(C) Attomey’s (Firm Name, Address, and Telephone Number}\ Attorneys(lf.l<nqw

I'E: m L T S, USE l`HE LOCATION OF THE
Steven K. DeWolf Bar 05671200, Barbara L. Emerson Bar 06599400,

n) i‘
Bellinger & DeWolf`, 10000 N. Central Expwy, #900 Dallas, TX 75231

III. Cl IZENS} 115 EWAR§¥§§(Pl;W an “x” iii one Box for Plaintiff
(For Diversity las£ba K, U~S~ D| TRICT C u ind One Box for Defendant)

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “x" iii one Box only)
ljl u_s.Govemmem s 3 Federal Quescioii NOF\ MWMTR'CT OF TEXAS PTF l)l~:F
Plaintiff (U.S, Govemment Not a Party) Citizen of This State [:I 1 g 1 Incorporated or Pn`ncipal Plaee |'_'l 4 g 4
of Business Irl This State
g 2 U.S. Govemment |:I 4 Diversity Citizen of Another State CI 2 g 2 Incorporated and Principal Place g 5 |:'l 5
D f d t fB ` I An th St t
c en an (lndicate Citizenship of Panies in Item III) 0 usmess n o er a e
Citizen or Subject of a [j 3 g 3 Foreign Nau`on g 6 [:I 6
Foreign Country
IV NATURE OF SUIT

    
 

  

       
   

 

      
  

     
  
 
   

  

    

  
     

          

        

 

 

 

 

 

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g 110 lnsurance PERSONAL INJURY PERSONAL INJURY g 610 Agnculture |:I 422 Appeal 28 USC 158 g 400 State Reapportlonment
[:l 120 Marirle |:l 310 Airplane |:l 362 Personal Injury - g 620 Other Food & Drug g 423 Withdrawal |:l 410 Antitrust
g 130 Miller Act g 315 Airplane Product Med, Malpractice |:] 625 Drug Related Seizure 28 USC 157 [:l 430 Banks and Banking
g 140 Negotiable Instrument Liability C] 365 Personal Injury - of Property 21 USC 881 g 450 Commerce
|:] 150 Recovery of Overpa)mient g 320 Assault, Libel & Product Liability Lj 630 Liquor Laws I:I 460 Deportati<m
& Enforcement of Judgment Slander [:] 368 Asbestos Personal g 640 R.R. & Truck l 820 COPYTiShtS l:l 470 Ra€k€f€€r Influe!l¢ed and
|:] 151 Medicare Act g 330 Federal Employers’ Injury Product [j 650 Airline Regs. [___I 830 Patent Conupt Organizations
|:l 152 Recovery of Defaulted Liability Liability g 660 Occupational [:I 840 Trademark I:I 480 Consumer Credit
Student Loans l:l 340 Marine PERSONAL PROPERTY Safety/Health 1_-_1 490 Cable/Sat TV
(Excl, Veterans) [:] 345 Marine Product 13 370 Other Fraud g 690 Other ij 310 SCl€CtiVe SSTViC¢
[:l 153 Recovery ovaerpayment Liability \:l 371 Truth in Lending ij 850 S€Curifi€S/Commodifies/
of Veteran’s Benetits g 350 Motor Vehicle [:l 380 Other Persorlal 710 Fair Labor Standards 861 HIA (13955) Exchange
CI 160 Stockholders’ Suits ij 355 Motor Vehicle Property Da.mage Act |:I 862 Black Lung (923) [:I 875 Customer Challenge
g 190 Other Contract Product Liability |:I 385 Property Damage I:I 720 Labor/Mgmt. Relations |:l 863 DIWC/DIWW (405(g)) 12 USC 3410
g 195 Contract Product Liability [] 360 Other Personal Product Liability g 730 Labor/Mgmt.Reponing |:I 864 SSID Title XVI ij 890 Other Statutory Actions
I'_'l 196 Franchise Injury & Disclosure Act |:I 865 RSI (405(g)) 13 891 Agricultura.l Acts
ROPE c ~ l RIS,,O,,,~ l l mo ij 740 Railway Lalior Act FEDERAL TAx surrs: y g 892 Ecoiiomic stabilization Act
l 210 Land Condemnation l 441 Voting 510 Motlons to Vacate |:I 790 Other Labor Litigation l 870 Taxes (U.S. Plainti§ |:l 893 Environmental Maners
g 220 Foreclosure 9 442 Employment Sentence g 791 Empl. Ret. Inc. or Defendant) 13 894 Erlergy Allocation Act
g 230 Rent Lease & Ejectment |:l 443 Housing/ Habeas Corpus: Security Act ij 871 IRS_Third Party g 895 Freedom of Informatiorl
[:l 240 Torts to Land Accommodations g 530 General 26 USC 7609 Act
[l 245 Torc Product Liabiliry |:I 444 Welfare [l 535 Deadi Penalty Cl 900 Appeal of Fee Determination
g 290 All Other Real Property |:l 445 Arner. w/Disabilities - l:] 540 Mandamus & Other Under Equa| Access
Employment g 550 Civil Rights to Justice
|:] 446 Amer. w/Disabilities - g 555 Prison Condition g 950 Constitutionality of
Other State Statutes
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Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

grin description of Cause: Title VII Discrimination and Retaliation

 

 

 

VII. REQUESTED IN ij cHECK lF THls ls A CLAss ACTION DEMAND $ CHECK YES only if demanded in complains
COMPLAINT: UNDER F.R¢C,P. 23 JURY DEMAND: ® Yes ClNo
vIII. RELATED CAsE(s) _ _ _
PENDING OR CLOSED (Seel“$"“°“°“s)' JUDGE DoCKEr NUMBER
None None

 

 

DATE
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MAG. JUDGE

 

 

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JS 44 Reverse (Rev. 10/06)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law, except
as provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should
complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant If the plaintiff or defendant is a government agency, use only the full name or
standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both name and title

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county Where the first listed plaintiff resides at the time of filing In
U,S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing (NOTE: In land condemnation cases, the county of residence of the
“defendant” is the location of the tract of land involved.)

(c) Attomeys. Enter the firm name, address, telephone number, and attorney of record If there are several attomeys, list them on an attachment, noting in this section
“(see attachment)”.

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings Place an “X” in one of the boxes If
there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff (l) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

F ederal question (3) This refers to suits under 28 U.S.C. 1331, Where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution, an act of
Congress or a treaty of the United States. In cases where the U.S, is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be marked

Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states When Box 4 is checked, the citizenship of the different parties
must be checked. (See Section III below', federal question actions take precedence over diversity cases.)

III. Residence (citizenship) of Pn'ncipal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section for each
principal party.
IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is Sufficient to enable the

deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit If the cause fits more than one nature of suit, select the most definitive
V. Origin. Place an “X” in one of the seven boxes
Original Proceedings. (1) Cases which originate in the United States district courts

Removed from State Court (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for removal is
granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court Use the reopening date as the filing date.
Transferred from Another District (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation transfers

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is checked, do
not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes unless
diversity Example: U.S. Civil Statute: 47 USC 553

Brief Description: Unauthorized reception of cable service
VII. Requested in Complaint. Class Action Place an “X” in this box if you are filing a class action under Rule 23, F,R.CV.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded
VIII. Related Cases. This section of the JS 44 is used to reference cases that are related to this filing, if any. lf a related case exists, whether pending or closed,insert the
docket numbers and the corresponding judge names for such cases A case is “related” to this filing if the case: (1) involves some or all of the sameparties and is based on

the same or similar claim', (2) involves the same property, transaction, or event; (3) involves substantially similar issues of law and fact; and/or(4) involves the same estate irl
a bankruptcy appeal

Date and Attorney Signature. Date and sign the civil cover sheet

 

